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UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                   Houston              Main Case Number               20-33233
          Debtor            In Re:         CHESAPEAKE ENERGY CORPORATION, et al.


This lawyer, who is admitted to the State Bar of                  Louisiana                 :

                       Name                             Mark J. Chaney, III
                       Firm                             McGlinchey Stafford, PLLC
                       Street                           601 Poydras Street, 12th Floor
                 City & Zip Code                        New Orleans, LA 70130
                    Telephone                           (504) 596-2784
                                                        LA 35704
             Licensed: State & Number

Seeks to appear as the attorney for this party:

                             Automotive Rentals, Inc. and ARI Fleet LT


 Dated: 06/29/2020                        Signed: /s/ Mark J. Chaney, III




 COURT USE ONLY: The applicant’s state bar reports their status as:                                 .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order


                                     This lawyer is admitted pro hac vice.

Dated:
                                                           United States Bankruptcy Judge
